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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA



 JOHN AND JANE DOES 1-9, et al.,

                 Plaintiffs,

         v.                                                 Civil Action No. 25-0325 (JMC)

 DEPARTMENT OF JUSTICE,

                 Defendant.


 FEDERAL BUREAU OF INVESTIGATION
 AGENTS ASSOCIATION, et al.,

                 Plaintiffs,
                                                            Civil Action No. 25-0328 (JMC)
         v.

 DEPARTMENT OF JUSTICE, et al.,

                 Defendants.


        EXHIBIT A: PLAINTIFFS’ REQUESTS FOR EXPEDITED DISCVOERY

       Pursuant to Fed. R. Civ. P. 33 and 34, the above-captioned consolidated Plaintiffs

respectfully request that the Defendants, the Department of Justice and the United States of

America, (a) answer under oath the following written interrogatories and requests for documents,

separately and fully in writing; and (b) produce the requested documents to counsel for the

Plaintiffs, within five (5) calendar days from the date of this filing.

       Your answers should include all information known up to the date on which you serve your

responses. Under Fed. R. Civ. P. 26(e), the Defendants have an ongoing duty to supplement all
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disclosures with any additional responsive information or documents that may become known to

them prior to the scheduled hearing for this action, including if the Defendants discover that any

information disclosed is incomplete or incorrect.

       If the Defendants are not in possession of any document requested, the Defendants must

take all appropriate steps to aid the recovery of the document from other sources, including by

providing authorizations or waivers or releases, where required. Defendant should list each

document withheld based on any privilege on a privilege log pursuant to Fed. R. Civ. P. 26(b)(5).

       The instructions, definitions, and rules of construction set forth in Fed. R. Civ. P. 33 and

34 and the District of Columbia’s Local Rule 26.2, and as set forth below, govern these discovery

requests.

                                          DEFINITIONS

 1.    “Department of Justice” (“DOJ”) means the Executive Branch department of the United
       States Government. Any reference to DOJ also includes all subordinate component law
       enforcement agencies, including but not limited to the Federal Bureau of Investigation
       (“FBI”), the Bureau of Alcohol, Tobacco, Firearms and Explosives (“ATF”), the Drug
       Enforcement Administration (“DEA”), the Federal Bureau of Prisons (“BOP”), and the
       United States Marshals Servies (“USMS”). The DOJ includes all 93 United States
       Attorney’s Offices across the 94 federal districts, as well as the Executive Office of United
       States Attorneys. The DOJ includes the Offices of the Deputy Attorney General, the
       Solicitor General, and the Associate Attorney General. It further includes the Office of
       Legal Counsel, the Office of Legal Policy, the Office of Legislative Affairs, the Office of
       Public Affairs, and the Office of Tribal Justice. It includes all components, and
       subcomponents thereof, identified in the DOJ’s current organization chart depicted at
       https://www.justice.gov/agencies/chart/map. Any reference to Department of Justice also
       includes any members of the Department of Government Efficiency, Special Government
       Employees (“SGEs”), to include SGEs or those purporting to be SGEs who are employed
       by or affiliated with one of Mr. Elon Musk’s companies, e.g., SpaceX, or White House
       transition team members detailed to, embedded with, or otherwise operating in active
       concert or participation with the DOJ.

 2.    “United States of America” (“USA”) means all components and members of the Executive
       Branch of the United States Government. Any reference to USA also includes any
       members of the so-called Department of Government Efficiency, Special Government
       Employees (“SGEs”), or White House transition team members detailed to, embedded
       with, or otherwise operating in active concert or participation with the USA. USA includes




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     the President of the United States, the White House, and all components and
     subcomponents thereof, and the employees therein.

3.   The “Government” or the “Defendants” means both the DOJ and USA.

4.   The “Complaint” means the Plaintiffs’ Complaint filed on February 4, 2024, and any
     subsequent Amended Complaint that was filed prior to production of Defendants’
     discovery responses.

5.   “Document” is used herein in the broadest sense of the term and means all records, written
     proof, and other tangible media of expression of whatever nature however and wherever
     created, produced, or stored (manually, mechanically, electronically, or otherwise),
     including without limitation all versions whether draft or final, all annotated or
     nonconforming or other copies, electronic mail (“e-mail”), instant messages (“Skype,
      “Teams,” or other instant chat functions), text messages, Social Media posts, Social Media
     messages, wireless device messages, voicemail, calendars, date books, appointment books,
     diaries, books, papers, files, notes, confirmations, account statements, correspondence,
     memoranda, reports, records, journals, registers, analyses, plans, manuals, policies,
     photographs, telegrams, faxes, telexes, wires, telephone logs, telephone messages, message
     slips, minutes, notes or records or transcriptions of conversations or communications or
     meetings, tape recordings, videotapes, disks, and other electronic media, microfilm,
     microfiche, storage devices, press releases, contracts, agreements, notices, and summaries.
         a. Any non-identical version of a Document constitutes a separate Document within
             this definition, including without limitation drafts or copies bearing any notation,
             edit, comment, marginalia, underscoring, highlighting, marking, or any other
             alteration of any kind resulting in any difference between two or more otherwise
             identical Documents. In the case of Documents bearing any notation or other
             marking made by highlighting ink, the term Document means the original version
             bearing the highlighting ink, which original must be produced as opposed to any
             copy thereof.
         b. If any Document requested herein is withheld under a claim of privilege, for each
             such document withheld provide: (a) a description of the Document, i.e., whether
             it is a letter, memorandum, report, etc.; (b) the name(s) of the author(s); (c) the
             name(s) of the addressee(s) and all recipients; (d) a brief description of the subject
             of the document; and (e) the privilege upon which you are relying on in withholding
             the Document and a statement as to the reason why you contend that privilege is
             applicable to the particular Document.

6.   “You” and “Your” mean DOJ and USA, including any and all parties, officers, agents,
     servants, employees, and attorneys, and any other persons (including SGEs) who are in
     active concert or participation with DOJ and USA.

7.   The terms “and” and “or” should be read conjunctively to bring within the scope of these
     requests any documents which might otherwise be outside its scope.

8.   The term “Communications” means Communications made by any means, including, but




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        not limited to, written and oral Communications, and includes those Communication
        methods outlined above for the term “Document.”

9.      The term “Statement” means a Statement made by any means, including, but not limited
        to, written and oral statements.

10.     The term “identify,” when used in reference to a person means to set forth the following
        information:

        a. The person’s full name;
        b. The person’s full title and position at the time of the events in question;
        c. The person’s full present title and position;
        d. The person’s current or last known business address(es), telephone
           number(s), employer, and area of responsibility.


     11. The term “identify,” when used in reference to an entity that is not an individual, means
         to set forth the entity’s full name, current or last known address(es) and telephone
         number(s).

     12. The term “identify,” when used in reference to an object means to set forth the type,
         physical description and estimated value.

     13. The term “identify,” when used in reference to a Document or Communication means to
         set forth the following information:

        a. The date of the Document or Communication;
        b. A description of the type of Document;
        c. A summary of the Document’s contents or the substance of the Communication;
        d. The place of the Communication;
        e. The identity of all persons present during the Communication;
        f. The present location of the original and all existing copies of the Document;
        g. A list of all intended recipients of the Document, including, but not limited to, all
           addressees and all persons who were supposed to receive a copy of the Document
           (i.e., through “cc” or “bcc”); and
        h. The level of classification at the time in question, the name of the classifying official
           and the date on which it was classified.

  14. The term “identify,” when used in reference to an event or occurrence, means to set forth
      the following information:

        a. The date and place of the event or occurrence;
        b. The identity of all persons present during the event or occurrence;
        c. The precise nature of that event or occurrence.

15.     “Relating to” or “pertaining to” means having any relationship or connection to,




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      concerning, being connected to, commenting on, responding to, containing, evidencing,
      showing, memorializing, describing, analyzing, reflecting, comprising, constituting, or
      otherwise establishing any reasonable, logical or causal connection.

16.   The “Survey” or the “January 6 Survey” means the Survey sent to FBI personnel on or
      about February 2, 2025. The “Survey Results” means the data collected from the January
      6 Survey and later conveyed from the FBI to DOJ. The “Survey Results” includes both
      the results as initially provided (i.e., denoting only Employee Identification Numbers
      (“EINs”) and any subsequent versions of that data (i.e., associating employees’ names with
      EINs).

17.   “Employee identifying data” includes the names, EINs, and any other personally
      identifying information of FBI employees.

18.   “January 6 investigations” means any criminal investigation conducted by the Government
      into the facts and circumstances surrounding the attacks on the U.S. Capitol that took place
      on January 6, 2021.

19.   The “Weaponization Executive Order” or “Weaponization EO” means the Executive Order
      14147, dated January 20, 2025.

20.   The “Restoring Integrity Memo” means the Memorandum for All Department [of Justice]
      Employees, from the Attorney General Pam Bondi, Subject: Restoring the Integrity and
      Credibility of the Department of Justice, dated February 5, 2025.

21.   The “Terminations Memo” means the Memorandum for Acting Director, Federal Bureau
      of Investigation, from the Acting Deputy Attorney General, Subject: Terminations, dated
      January 31, 2025.

22.   The “February 5, 2025 Message from the Acting Deputy Attorney General” or “February
      5, 2025 Message from A/DAG” means the entirety of the email sent from the email account
      for the Acting Deputy Attorney General on or about February 5, 2025, subject: Follow-Up
      to 1/31/2025 Memo to FBI Acting Director. “Colleagues: I write with additional
      information regarding the memo that I sent to the FBI’s actin director on January 31, 2025”
      and concludes with “Thanks, Emil [] Bcc: All FBI Federal Employees.”

23.   The “Acting Deputy Attorney General” or “A/DAG” means Mr. Emil Bove III. He may
      also be referred to as “Mr. Bove” or “A/DAG Bove.”

24.   The “Department of Government Efficiency” or “DOGE” means the Department of
      Government Efficiency established by Executive Order 14158, dated January 20, 2025,
      and all members of affiliates thereof.

25.   “Concerning” means relating to, referring to, describing, evidencing, or constituting.




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                                    INTERROGATORIES

   Unless otherwise noted, all interrogatories below relate to the time period of January 20,

2025, up through and including the date of any response:

   1. For the period January 20, 2017, up through and including the date of any response, identify
      any instance in which DOJ has collected employee identifying data for the purpose of
      determining whether an employee participated in a criminal investigation.

   2. Identify the individual or individual(s) who are responsible for designing, creating, and
      distributing the Survey. This includes, but is not limited to, any and all individuals who
      suggested what questions should be included on the Survey, any and all individuals who
      discussed options should be made available in instances of “drop down” or multiple choice
      answers on the Survey, and any and all individuals who participated in the process of
      identifying which FBI personnel should receive the Survey.

   3. Identify the individual or individual(s) who are responsible for deciding on the timeline
      with which FBI personnel had to complete the Survey, namely, the individual or
      individual(s) who were responsible for the February 2, 2025 issuance of the Survey and
      setting the February 3, 2025 deadline for completion.

   4. Identify whether the data collected pursuant to the January 6 Survey has been reviewed by
      DOJ. If so, for what purpose was it reviewed and by whom?

   5. Identify every purpose for which the Government claims it can lawfully publicly disclose
      any employee data collected pursuant to the Survey.

   6. Identify every White House personnel who had or currently has direct access to the data
      collected pursuant to the Survey.

   7. Identify every DOGE personnel who had or currently has direct access to the data collected
      pursuant to the Survey.

   8. Identify every non-DOJ personnel who had or currently has direct access to the data
      collected pursuant to the Survey.

   9. In both the Terminations Memo and the February 5, 2025 Message from A/DAG, Mr. Emil
      Bove III stated that DOJ is undertaking a “process” to review the conduct of FBI personnel
      who participated in the January 6 investigations. Identify and describe the “process”
      identified by Mr. Bove and any lawful basis pursuant to which it is authorized.

   10. Identify any additional information (beyond or in addition to the information in the Survey)
       Defendants intend to gather about the respondents to the Survey which they plan to use to




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      identify which agents or personnel have executed their duties in a “partisan” or
      “weaponized” way, as those terms are being used by Defendants.

   11. For the time period of January 6, 2021, up through and including the date of any response,
       identify any FBI employee as to whom DOJ has substantiated a complaint in connection
       with that employee’s participation in the January 6 investigations.

   12. For the time period of January 6, 2021, up through and including the date of any response,
       has DOJ substantiated a complaint against any FBI employee in connection with that
       employee’s participation in the January 6 investigations? If yes, how many?

   13. What is the Government’s definition of “Weaponization?”

   14. What information is the Government looking at to determine whether “Weaponization”
       exists?

   15. In the February 5, 2025 Message from A/DAG, A/DAG Bove states that “the only
       individuals who should be concerned” about a “process” that leads to “risk of termination
       and other penalties” are those who acted with “partisan intent” or who “exercised discretion
       in weaponizing the FBI.”

          a. What does the Government define as “partisan intent?”
          b. What factors is the Government considering when determining whether someone
             acts with “partisan intent?”
          c. What does is mean to “exercis[e] discretion in weaponizing the FBI?”
          d. What factors is the Government considering when determining whether someone
             “exercised discretion in weaponizing the FBI?”
                              REQUESTS FOR PRODUCTION

      Unless otherwise noted, all interrogatories below relate to the time period of January 20,

2025, up through and including the date of any response:

        1. Any Document or Communication that relates to the creation of the Survey, the
           collection of the Survey results, or any publication of the Survey or discussion
           thereof.

        2. Any Document or Communication that relates to the Government’s intent as to the
           Survey.

        3. Any Document or Communication that relates to the Government’s Responses to
           any of the Interrogatories above.




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  4. Any Document or Communication authored by A/DAG Bove or relating to
     Documents or Communications authored by A/DAG Bove which identifies A/DAG
     Bove’s intent for the Terminations Memo.

  5. Any Document or Communication authored by A/DAG Bove or relating to
     Documents or Communications authored by A/DAG Bove which identifies A/DAG
     Bove’s intent for the February 5, 2025 Message from the Acting Deputy Attorney
     General.

  6. Any Document or Communication that relates to the Government’s intended
     process for implementing the Restoring Integrity Memo, including but not limited
     to all Documents or Communications authored by A/DAG Bove or relating to
     Documents or Communications authored by A/DAG Bove.

  7. Any Document or Communication that relates to the Government’s intended
     process for implementing the Weaponization Executive Order, including but not
     limited to all Documents or Communications authored by A/DAG Bove or relating
     to Documents or Communications authored by A/DAG Bove.

  8. Any Document or Communication that relates to the Government’s decision(s) on
     what specific type of information should be adduced from FBI personnel in the
     Survey.

  9. Any Documents or drafts of documents the Government has created to inform FBI
     agents or other personnel that they have been identified as having executed their
     duties in a “partisan” or “weaponized” fashion.




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  February 17, 2025
                                                                   Respectfully Submitted,


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